Case 3:19-mc-80005-SK Document 8-4 Filed 03/26/19 Page 1 of 2




       Exhibit C
                                          Congregation
                      Case 3:19-mc-80005-SK            Record of Processing
                                                Document            8-4 Activities
                                                                            Filed 03/26/19 Page 2 of 2
                                                      Article 30 of GDPR

                                                        Article 30{1)(a): Name and Contact Details of Data Controller - Congregation Name:
                                                                  Richt to
                                                                                                                                                                                                                          Article30(1)(&):
                      Article           Article30(1Jlb):          Process -   Article30(1Jlc):                                                        Article 30(1)(dl: lo   Article30(1)(e): Is       If Transfer,
                                                                                                  Article30(1)(c): Catq:ories of Personal Data                                                                            le1:hnical and
Type of Record        30(1)(f):         Purpose for               Article 6   Catecories of                                                           Whom Perwnal           Data Transferred to a     What is the
                                                                                                  CollN:tion                                                                                                              Orcanizational
                      Rett'fltkm        Processint This Data      or 9 of     Data Subjects                                                           Data is Di.sclosed     Third Country             Lq:al Basis
                                                                                                                                                                                                                          Security Measures
                                                                  GDPR
                                                                                                                                                                                                                          Access is restricted and
                                                                                                                                                                                                                          viewed as confidential.
                                                                  Article
                      s,,                                                                                                                                                                                                 Data held on hard copy
Notice and                                                        6{1)(a),
                      Instructions      Record of publishers                                                                                                                                                              form are kept in files
Consent for Use                                                   6(1)(c),
                      for Use of        civini consent to                     Publishers          Name and surname                                    No one                 No                        None               that are locked with
of Persor1al Data                                                 9{2)(a),
                      Personal Data     process their data                                                                                                                                                                access restricted to
(S-290)                                                           aod
                      (S-291)                                                                                                                                                                                             only authorized
                                                                  9(2)(d)
                                                                                                                                                                                                                          personnel, hard copy is
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                                                                  Article
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Congregation's                                                                Publishers (non­    N5me, surname, birthdatc, address, telephone                                                                            form are kept in files
                      BOE dated         members hip data          6{1)(f),
Publisher Re1:ord                                                             baptized,           numbers, baptism date, ecnder, prcachine            No one                 No                        None               that arc locked with
                      Janu,5ry6,        includine publisher
Cards (S-21)                                                                  baptized)           activity, anointed/other sheep, privileecs                                                                              access restricted to
                      2017              activity                  Article
                                                                                                                                                                                                                          only authorized
                                                                  9(2)1d)
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                                        To maintain
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Re1:ordsof                              data, necessary to
                                                                  Article                         Name, eendcr, birthdate, baptism date, date                                Soml" personal data       Leeitimate         vil"wcd as confidential
Confidential                            uphold rclieious                      Publishers and
                      See Letter to                               6(1)(a),                        of disfellowshipping/disassoci,5tion,               Elders workine in      may be transferred        interest of        Data held in h,nd copy
cases includine                         tl"nets (no rcbaptism,                former
                      BOE dated                                   6{1)(f)                         conereeation, reason for                            the Service            via jw.ore e-mail to      rl"lieious         form arl" kept in files
judicial                                rl"movl" from                         Witnesses
                      January 6,                                                                  disfl"llowshippi ng/disassociation, date of         Department at the      the branch office         oreanization       th,5t are locked with
committl"e data                         con1rc1ation),                        (former
                      2017                                        Article                         readmission, names of the l"ldcrs, and last S-      branch office          usine servers in the      and Artk!c         access restricted to
(S-77 and itl"ms in                     protection of                         members)
                                                                  9(2)(d)                         21                                                                         United States             49(1)(a)           only authorized
envelope)                               con1rc1ation, to fulfil
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                                        leeitimatc interests of
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                                        rclieious Ofianization
                                                                                                                                                      Circuit overseer,      Some personal data                           Access to records is
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                                        Record of                 Article                                                                                                                              Lceitimatc
                                                                                                                                                      personnel at           vi" jw.ore e-mail to                         security roles and
                      Scl"ll"tterto     appointments and          6(1)(a),                                                                                                                             interl"st of
Elders and                                                                                                                                            branch officl" level   the branch office                            permissions. Data held
                      BOE dated         removals to fulfil        6{1)(f),                        Name, surname, date of appointment or                                                                rclieious
Ministerial                                                                   Publishers                                                              5nd some limited       usine servers in the                         in hard copy form are
                      January 6,        legitimate interests of   and                             deletion                                                                                             organization
Servanb                                                                                                                                               d5ta to authorized     United Statl"S, and                          kept in files that arc
                      2017              the re1ia:ious            Article                                                                                                                              and Artk!c
                                                                                                                                                      personnel at world     some limited data to                         locked with access
                                        oreanization              9(2)(d)                                                                                                                              49(1)(a)
                                                                                                                                                      headquarters in the    world headquarters                           restrictl"d to only
                                                                                                                                                      United States          in the United States                         authorized personnel
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Report on Circuit                                                 Article                                                                                                                                                 security roles and
                      Sec Letter to     To carry out the                                                                                                                     may be transferred        interest of
Overseer's Visit                                                      (f)                                                                             Authorized                                                          permissions. Data held
                      BOE dated         legitimate purposes of    :��                             Comments on the spiritual health of                                        vi" jw.org e-mail to      religious
With                                                                          Pub1ishl"rs                                                             personnel at                                                        in hard copy form arc
                      January 6,        the rcliiiOUS                                             con1rl"a:ation                                                             thl" branch office        oreanization
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                      Sci" Letter to                                                              Name, surname, health-care instructions;
                                        To assist publishers in                                                                                       cases of medical                                                    form arc kept in files
Advance Medical       BOE dated                                   Article                         n,5me, surname, address, telephone of health­
                                        case of a medical                     Pubtishl"rs                                                             l"ffil"reency (which   No                        None               that arc locked with
Directives            January6,                                   6{1)(a)                         care agent; and name, surname, and addrl"ss
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                      Date received
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                      plus 3 years
                                        volunteer proerams        Article                         telephone numbers, baptism date, ecnder,            world                  some applications         consent on         kept in files that arc
                                                                  9(2)(d)                         ethnicity, eovcrnment identification, marital       headquarters, to       may be transferred        applications       locked with aCCl"SS
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                                                                                                  physical health)                                    applications                                                        authorized personnel
                                                                                                                                                                             United States
                                        To carry out the                                                                                                                                                                  Access is restricted and
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                      assignment
Meeting                                 the rclia:ious            Article     joined the                                                                                                                                  Data is placed on the
                      fulfilled and                                                               Name, surname, tl"lcphonl" number                   No one                 No                        None
Assignments                             oreanization,             6{1)(a)     con1rc1ation                                                                                                                                conerceation's notkl"
                      schedule is
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Contact               publisher is in                             Article
                                        publishers in the                     baptized,           addrl"ss information, alternate contact             No one                 No                        None               that are locked with
Information           th,                                         6{1)(a)
                                        event of l"mergcncics                 baptized)           information.                                                                                                            access restricted to
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Do Not Calls                                                                                      Addrl"ss                                            Noonl"                 No                        None
                      made to not       of individuals            6{1)(a)     public                                                                                                                                      fulfil wishes of member
                      be contacted                                                                                                                                                                                        of public and not
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                      As lone as                                                                                                                                                                       None - if          Data held in hard copy
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Vendor Files          legally                                                 Suppliers           Name, company contact information                   contractually          contractually             required the       that arc locked with
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                                        publishers                Articll"                                                                            Strl"am                transferred throueh                          and passwords.
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Se<:uritv Footage     See specific                                Article                         Audio/video monitoring (even if imaees arc
                                        areas for security and                Public                                                                  No one                 No                        None               permissions,
(CCTV)                law in country                              6{1)(f)                         not stored/kept) and rccordine of public
                                        safety                                                                                                                                                                            unnecessary data is
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